Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 1 of 10

JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal] Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. 1 Investigating Agency FBI
City Related Case Information:
County _ Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number __20-MJ-2221-MBB
R 20/R 40 from District of

Defendant Information:
Defendant Name VLADISLAV DMITRIYEVICH KLYUSHIN Juvenile: [-] Yes [¥] No

Is this person an attorney and/or a member of any state/federal bar: [| Yes No Y _
Alias Name VLADISLAV KLIUSHIN IC 1]

ee
Address (City & State)

 

 

Birth date (Yr only); 1980. SSN (last4#): Sex M Race: WHITE Nationality; RUSSIAN

Defense Counsel if known: Address D f £2

Bar Number ~ SAF Te 5

i

U.S. Attorney Information:

AUSA _ Seth B. Kosto and Stephen E. Frank Bar Number if applicable

 

 

 

Interpreter: Yes [_|No List language and/or dialect: Russian
Victims: [Vlves [ [No If yes, are there multiple crime victims under 18 USC§3771(d){2) | | Yes No
Matter to be SEALED: yes [_] No

[¥ }Warrant Requested [| Regular Process T | In Custody

Location Status:

 

 

 

 

 

 

 

Arrest Date

[ ]Already in Federal Custody as of in

| ]Atready in State Custody at [Serving Sentence | Awaiting Trial
[lon Pretrial Release: Ordered by: on

Charging Document: Complaint [| Information [| Indictment

Total # of Counts: [Petty ———— [_|Misdemeanor —————— |¥’| Felony

Continue on Page 2 for Entry of U.S.C. Citations

Lhereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above. <SF
Date: 03/19/2021 Signature of AUSA: fo “ .
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Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 2 of 10

J8 45 (3/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

 

 

Index Key/Code

Set] 18 U.S.C. § 371

Set 2

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to commit computer intrusion, wire
fraud, and securities fraud contrary to 1

18 U.S.C. §§ 1030(a)(4) & 1343 and 15 U.S.C. §§
78j(b) and 78ff(a).

 

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ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM- Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 3 of 10
&JS$ 45 (5/97}- (Revised U.S.D.C. MA 3/25/2011}

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. + Investigating Agency FBI
City Related Case Information:
County _Suffolk Superseding Ind,/ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number  _20-MJ-2221-MBB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information: _
Defendant Name IVAN SERGEYEVICH ERMAKOV Juvenile: [] Yes [¥]No _
Is this person an attorney and/or a member of any state/federal bar: [| Yes No Lf)
Alias Name IVAN YERMAKOV i
Address (City & State)
Birth date (Yr only):___—ss SSN (Jast4##): Sex M___ Race: Nationality, Russian
Defense Counsel if known: Address
Bar Number Des a
Ve KE
U.S. Attorney Information: TE f)
AUSA Seth B. Kosto and Stephen E. Frank Bar Number if applicable
Interpreter: T | Yes l¥|No List language and/or dialect:
Victims: [Pives [_|No 1fyes, are there multiple crime victims under 18 uscg377i(ay(2). «|_| Yes [_]No

Matter to be SEALED: Yes (| No
[¥ | Warrant Requested [| Regular Process [| {n Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[ |Already in Federal Custody as of in
|" ]Atready in State Custody at [_ [Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: Complaint [| Information [| Indictment

Total # of Counts: | |Petty — | |Misdemeanor So Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are,
accurately set forth above. Lo

Date: 03/19/2021 Signature of AUSA: LA

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Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 4 of 10

J8 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

 

 

Index Key/Code

Set] [8 U.S.C. $371

Set 2

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to commit computer intrusion, wire
fraud, and securities fraud contrary to ]

18 U.S.C. §§ 1030(a)(4) & 1343 and 15 U.S.C. §§
78j(b) and 78ff{a).

 

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ADDITIONAL INFORMATION:

 

 

 

 

 

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Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 5 of 10
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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. 1 Investigating Agency FBI
City Related Case Information:
County _Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number  _20-MJ-2221-MBB
R 20/R 40 from District of

 

 

Defendant Information:

 

 

   

 

Defendant Name IGOR SERGEEVICH SLADKOV Juvenile: [| Yes [¥|No i
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name GEER

Address (City & State) M4

Birth date (Yr only): SSN (last4#): Sex M Race: Nationality: RUSSIAN

Defense Counsel if known: Address

 

 

Bar Number

Py
U.S. Attorney Information: tf LS CK ET ED

AUSA Seth B. Kosto and Stephen E. Frank Bar Number if applicable

 

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: [Aves [|No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes T | No
Matter to be SEALED: ves [| No

[V | Warrant Requested [| Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date
[ |Already in Federal Custody as of in

| |Already in State Custody at | [Serving Sentence | Awaiting Trial
T | On Pretrial Release: Ordered by: on

Charging Document: [V [Complaint [_ linformation [_| indictment
Total # of Counts: | |Petty ———— |__|Misdemeanor —_—_ Felony

Continue on Page 2 for Entry of U.S.C. Citations

[hereby certify that the case numbers of any prior proceedings before a Me gistrate judge are

accurately set forth above.

   
 

Date: 03/19/2021 Signature of AUSA:
Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 6 of 10

IS 45 (5/97) (Revised U.S.D.C. MA 12/7405) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant

 

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers

Conspiracy to commit computer intrusion, wire
Set] 18U.S.C. $371 fraud, and securities fraud contrary to 1

418 U.S.C. §§ 1030(a)(4) & 1343 and 15 U.S.C. §§
Set 2 78j(b) and 78ff(a}.

 

 

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ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet pdf 3/4/2013
Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 7 of 10

SJ5 45 (5/97)- (Revised U.S.D.C. MA 3/23/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. 1 Investigating Agency FB!
City Related Case Information:
County _Suffoik Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number —_20-MJ-2221-MBB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information:
Defendant Name _MIKHAIL VLADIMIROVICH IRZAK Juvenile: [|] Yes [v] No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name MIKKA IRZAK
Address (City & State) AT.
a
Birth date (Yr only): SSN (last4#): Sex M Race: Nationality: RUSSIAN EO)
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA Seth B. Kosto and Stephen E, Frank Bar Number if applicable
Interpreter: [| Yes No List language and/or dialect: } 2,
CSE 8A Renn
Victims: [yes [No If yes, are there multiple crime victims under 18 USC§3771(D(2) Ge ge DH
a
Matier to be SEALED: ves {_] No
{¥ | Warrant Requested |_| Regular Process |_| In Custody
Location Status:
Arrest Date
| |Already in Federal Custody as of in
| Already in State Custody at [_|Serving Sentence [waiting Trial
| | On Pretrial Release: Ordered by: on
Charging Document: [Vl Complaint [information [| Indictment
Total # of Counts: | |Petty TT | |Misdemeanor SS Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above. ay oe

  

Date: 03/19/2021 Signature of AUSA:
Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 8 of 10

IS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

 

 

Index Key/Code

Set] 18 U.S.C. § 371

Set 2

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78j(b) and 78ff(a).

 

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ADDITIONAL INFORMATION:

 

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 9 of 10

J§ 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

_Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. 1 Investigating Agency FBI
City Related Case Information:
County _Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number _20-MJ-2221-MBB
R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

 
 

 

 

 

 

 

 

 

Defendant Name _NIKOLA] MIKHAYLOVICH RUMIANTCEV Juvenile: [| Yes [¥] No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No 4
Alias Name NIKOLAY RUMYANTSEV Pl
Address (City & State) G i O
Birth date (¥r only): SSN (last4#): Sex M Race: Nationality: Russian
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA _ Seth B. Kosto and Stephen E. Frank Bar Number if applicable
Interpreter: [| Yes No List language and/or dialect:
Victims: [AlVes[|No Ifyes, are there multiple crime vietims under 18 “BC [ ]Yes [ |No
2 Sy -
Matter to be SEALED: ves [_] No C K = TE LD
[¥ |Warrant Requested [ | Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date
[Already in Federal Custody as of in
| Already in State Custody at [__|Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ ¥|Complaint [ ]tnformation |_| Indictment

Total # of Counts: | |Petty — [ |Misdemeanor ——<_<— Felony

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accurately set forth above. 25
Date: 03/19/2021 Signature of AUSA: pa

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Case 1:21-cr-10104-PBS Document 1-2 Filed 03/20/21 Page 10 of 10

i845 (3/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant

 

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers

Conspiracy to commit computer intrusion, wire
Set1 18U.8.C. § 371 fraud, and securities fraud contrary to I

418 U.S.C. 8§ 1030(a)(4) & 1343 and 15 U.S.C. 8§
Set 2 78j(b) and 78ff(a).

 

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